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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
13                   Plaintiffs,
                                              EX PARTE APPLICATION FOR
14         v.                                 TEMPORARY RESTRAINING ORDER
                                              AND ORDER TO SHOW CAUSE RE:
15   ALEX AZAR, et al.,                       PRELIMINARY INJUNCTION
16                   Defendants.
17                                            Hearing: None Set
                                              Judge: Hon. Dolly M. Gee
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                                                      EX PARTE APPLICATION FOR TRO AND OSC RE:
                                                                        PRELIMINARY INJUNCTION
                                                               CASE NO. 2:18-CV-05741 DMG PLA
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 65 and Local Rule 7-
 3   19, Plaintiffs in the above-captioned matter, hereby apply ex parte to this Court for a
 4   temporary restraining order (“TRO”) and for issuance of an order to show cause why a
 5   preliminary injunction should not issue. This ex parte application is based upon this
 6   Application, the accompanying Memorandum of Points and Authorities, the
 7   concurrently-filed Declaration of Class Counsel Carlos Holguín and all exhibits thereto,
 8   all papers on file in this action, and any oral argument of counsel the Court may hear.
 9   The Memorandum of Points and Authorities in support of this Application is filed
10   herewith.
11         The Plaintiffs bring this application on an ex parte basis because, as described in
12   the Motion attached, by continuing to house Class Members in congregate care facilities
13   in the face of the COVID-19 pandemic and public health national emergency,
14   Defendants Alex Azar, Secretary of U.S. Department of Health and Human Services,
15   and E. Scott Lloyd, Director, Office of Refugee Resettlement of the U.S. Department
16   of Health and Human Services (“ORR”), violate (i) the TVPRA, 8 U.S.C. §
17   1232(c)(2)(A),1 (ii) the January 17, 1997 Settlement Agreement in Flores v. Reno et al.,
18   CV 85-4544 (RJK) (Px), and (iii) the Due Process Clause of the Fifth Amendment. As
19   a result, Class Members (and the public) face grave risk to their health and lives that is
20   in need of immediate attention in order to avoid further loss of life. Plaintiffs
21   respectfully submit that ex parte relief is therefore appropriate given that the facts in the
22   Motion and its supporting papers evidence that immediate and irreparable injury will
23   result to Plaintiffs before opposition can be heard.
24               Statement of Compliance with Rule with Civil Local Rule 7-19
25         Counsel for Defendants are:
26                          Andrew Brenner Insenga
                            Ernesto Molina
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     1
28    William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008,
     Pub. L. 110-457, 122 Stat. 5044, codified at 8 U.S.C. § 1232 (“TVPRA”).
                                                            EX PARTE APPLICATION FOR TRO AND OSC RE:
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 5         Pursuant to Civil Local Rule 7-19.1 and Fed. R. Civ. P. 65, counsel for the
 6   Plaintiffs informed counsel for Defendants of the substance and date of this ex parte
 7   application. (Holguín Decl. ¶ 5.) On March 22, 2020, Plaintiff sent a letter to counsel
 8   for Defendants outlining the grave risk posed to Class Members by continuing to house
 9   them in congregate care as well as the relief Plaintiff intended to request through an
10   application for a TRO. (Id.) On March 23, 2020, the parties met and conferred
11   telephonically. (Id.) Counsel for Defendants informed Plaintiffs that Defendants would
12   oppose the application for a TRO. (Id.) To date, Defendants have not taken any action
13   to expedite resolution of this dispute which is endangering the health and lives of
14   children at ORR facilities. (Id.)
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13
                                          s/ Leecia Welch
14                                         Leecia Welch (208741)
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